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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

NAIR RODRIGUEZ, as next of kin to )
THE ESTATE OF LUIS RODRIGUEZ, )
et al.,                           )
                                  )
               Plaintiffs,        )
                                  )
v.                                )                Case No. CIV-16-150-D
                                  )
WARREN THEATRES, LLC, et al.,     )
                                  )
               Defendants.        )

                                         ORDER

       Before the Court is the Motion for Summary Judgment [Doc. No. 84] of

Defendants Midwest Regional Medical Center, LLC, d/b/a Midwest Regional Medical

Center EMS, Jason Smith, and Guy Rodolph (collectively, the “EMS Defendants”).

They seek a judgment as a matter of law under Fed. R. Civ. P. 56 on Plaintiffs’ claim of

intentional infliction of emotional distress and any wrongful death claim brought by

Plaintiffs Nair Rodriguez and Luinahi Rodriguez individually, as improper parties under

Okla. Stat. tit. 12, § 1053. Plaintiffs have responded in opposition to the Motion, which

is fully briefed.

                           Factual and Procedural Background

       This case concerns the death of Luis Rodriguez on February 15, 2014, outside the

Warren Theatre in Moore, Oklahoma. Before the incident resulting in Luis’s death, he

had attended a movie with his wife, Nair, and their daughter, Luinahi.1 Two on-duty


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          Because Plaintiffs share a common surname, the Court uses first names to refer to them
individually.
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police officers of the Moore Police Department (Defendants Joseph Bradley and Ryan

Minard) were dispatched to the theater to assist an off-duty officer and two peace officers

who were employed as private security guards (Defendants Brian Clarkson, Tyler

Howser and Chad Strang) with a matter unrelated to the Rodriguez family involving

allegedly intoxicated movie patrons. Concerned that the intoxicated patrons might need

medical attention, an ambulance was also dispatched to the movie theater. While the

officers were attending to the matter, a bystander witnessed an argument between Nair

and Luinahi and reported the incident to the officers. When the officers approached the

Rodriquez family to inquire about the incident, their interaction with Luis led to a use of

force and his physical restraint, and resulted in his tragic death.

       Plaintiffs filed a wrongful death action in the District Court of Oklahoma County,

Oklahoma, less than a year later on January 20, 2015, against the operators of the Warren

Theatre, the security guards and police officers involved in the incident, the City of

Moore, and the EMS Defendants, which are the emergency medical responders manning

the ambulance (Defendants Rodolph and Smith) and the operator of the ambulance

service (Midwest Regional Medical Center, LLC or Midwest Regional Center EMS).

Plaintiffs sought damages recoverable under Okla. Stat. tit. 12, § 1053, based on alleged

tortious conduct of the individual defendants and respondeat superior liability of their

employers. After multiple motions and amended pleadings, Plaintiffs filed their Third

Amended Petition [Doc. No. 1-105] on February 1, 2016, adding federal civil rights

claims under 42 U.S.C. § 1983, and Defendants removed the case to federal court.



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       The Third Amended Petition asserts both § 1983 claims and pendent common law

tort claims.2 As to the EMS Defendants, Plaintiffs claim they “were negligent in failing

to render appropriate medical care by failing to provide necessary medical attention and

in failing to properly monitor and assess Luis Rodriguez’s condition.” Third Am. Pet.,

¶ 69. Specifically, Plaintiffs allege the EMS Defendants “did not take any immediate

steps to try and resuscitate Luis Rodriguez at the scene,” and after it became obvious that

Luis was dead, they “refused to allow his wife, Nair Rodriguez, or even his daughter,

Luinahi Rodriguez, to accompany his body to the hospital.” Id. ¶¶ 67-68. Plaintiffs also

allege generally that the EMS Defendants’ “care and treatment fell below the applicable

standards of care,” that their negligence caused Luis to sustain injuries and damages, and

that “the combined actions and inactions of [all] the Defendants led to the death of Luis

Rodriquez.” Id. ¶¶ 71-73. As damages, Plaintiffs seek recovery for losses and injuries

listed in the wrongful death statute, § 1053(B). See id. ¶ 87.

       The Third Amended Petition enumerates ten causes of action.                The EMS

Defendants are included in only two: the “Sixth Cause of Action – Negligence” brought

against all Defendants by “Plaintiff . . . on behalf of the Estate of Luis Rodriguez” (id.

p.17-18 & ¶ 103); and the “Tenth Cause of Action – Intentional Infliction of Emotional

Distress” brought against all Defendants by “Plaintiffs, Nair Rodriguez and Luinahi

Rodriguez.” Id. pp.21-22 & ¶¶ 116-119.




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           The parties agree that the tort claims are governed by Oklahoma law.

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                                  Standard of Decision

       Summary judgment is appropriate “if the movant shows that there is no genuine

dispute as to any material fact and that the movant is entitled to judgment as a matter of

law.” Fed. R. Civ. P. 56(a). A material fact is one that “might affect the outcome of the

suit under the governing law.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

(1986). A dispute is genuine if the evidence is such that a reasonable jury could return a

verdict for either party. Id. at 255. All facts and reasonable inferences must be viewed in

the light most favorable to the nonmoving party. Id. If a party who would bear the

burden of proof at trial lacks sufficient evidence on an essential element of a claim, all

other factual issues concerning the claim become immaterial. Celotex Corp. v. Catrett,

477 U.S. 317, 322 (1986).

       The movant bears the initial burden of demonstrating the absence of a dispute of

material fact warranting summary judgment. Celotex, 477 U.S. at 322-23. If the movant

carries this burden, the nonmovant must go beyond the pleadings and “set forth specific

facts” that would be admissible in evidence and that show a genuine issue for trial. See

Anderson, 477 U.S. at 248; Celotex, 477 U.S. at 324; Adler v. Wal-Mart Stores, Inc., 144

F.3d 664, 671 (10th Cir. 1998). “To accomplish this, the facts must be identified by

reference to affidavits, deposition transcripts, or specific exhibits incorporated therein.”

Adler, 144 F.3d at 671; see Fed. R. Civ. P. 56(c)(1)(A).




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                                         Discussion

       The EMS Defendants ask the Court to make a summary determination of two

issues: 1) whether Plaintiffs can present sufficient facts to establish tort liability of the

EMS Defendants for intentional infliction of emotional distress; and 2) whether any

Plaintiff other than Nair Rodriguez as personal representative of Luis Rodriguez’s estate

is a proper party to prosecute a wrongful death action. Plaintiffs address only the first

issue in their response, but they admit Nair was appointed personal representative of

Luis’ estate on August 5, 2015. See Pls.’ Resp. Br. [Doc. No. 91], p.4 (admitting ¶¶ 1-4

of Defendants’ Statement of Uncontroverted Facts). Despite Plaintiffs’ silence on the

second issue, however, the only claim asserted against the EMS Defendants, other than

intentional infliction of emotional distress, is a negligence claim brought by Nair

Rodriguez on behalf of Luis Rodriguez’s estate. See Third Am. Pet., p.17-18 & ¶ 103.

There is no issue for decision with regard to the proper plaintiff to prosecute this claim; it

is brought by the person authorized by Okla. Stat. tit. 12, § 1053(A).

       To prevail on a claim of intentional infliction of emotional distress under

Oklahoma law, a plaintiff must show:           “(1) the defendant acted intentionally or

recklessly, (2) the defendant’s conduct was extreme and outrageous, (3) the defendant’s

conduct caused the plaintiff emotional distress, and (4) the resulting emotional distress

was severe.” See Computer Publ’ns, Inc. v. Welton, 49 P.3d 732, 735 (Okla. 2002). To

satisfy the second element, the defendant’s conduct must be so extreme and outrageous as

to be “beyond all possible bounds of decency” in the setting in which it occurred, or



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“utterly intolerable in a civilized community.” See Eddy v. Brown, 715 P.2d 74, 77

(Okla. 1986); see also Welton, 49 P.3d at 735; Kraszewski v. Baptist Med. Ctr. of Okla.,

Inc., 916 P.2d 241, 248 (Okla. 1996). “In general, a plaintiff must prove that the

recitation of defendant’s conduct to an average member of the community would arouse

the listener’s resentment against the defendant and would lead the listener to exclaim

‘Outrageous!’” Welton, 49 P.3d at 735.

      Upon consideration of the summary judgment record, the Court finds that

Plaintiffs have failed to come forward with any facts to support a finding of outrageous

conduct by the EMS Defendants. The Third Amended Complaint contains no factual

allegations that the emergency medical responders, Defendants Rodolph and Smith, were

personally involved in the physical altercation between Luis and the police or security

officers or that they interacted with Nair and Luinahi in any way. The only alleged

involvement of the EMS Defendants was providing medical attention and care to Luis

after he was injured.   When asked to identify any intentional conduct of Defendants

Rodolph and Smith that harmed Luis, Nair testified “they did not do their job the way

they were supposed to.” See Nair Rodriguez dep. 306:17-21.

      Plaintiffs in their summary judgment response present no additional allegations,

and provide no factual assertions supported in the manner required by Rule 56(c).

Plaintiffs argue generally, based on the allegations of their pleading, that Nair and

Luinahi “underwent extreme and severe emotional distress watching Defendants beat and

choke the life out of Luis.” See Pls.’ Resp. Br. [Doc. No. 91], p.5. However, “‘[a] party



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opposing a properly supported motion for summary judgment may not rest upon the mere

allegations or denials of his pleading.’” Schneider v. City of Grand Junction Police

Dep’t, 717 F.3d 760, 767 (10th Cir. 2013) (quoting Anderson, 477 U.S. at 248). Further,

Plaintiffs make no attempt to show “that for specified reasons, [they] cannot present facts

essential to justify [their] opposition.” Fed. R. Civ. P. 56(d). Under these circumstances,

summary judgment may properly be granted. See Fed. R. Civ. P. 56(e)(3).

       In the absence of any properly supported facts to show extreme or outrageous

conduct by any of the EMS Defendants that could reasonably be regarded as beyond the

bounds of decency and intolerable in a civilized society, the Court finds that that

Plaintiffs have failed to demonstrate a genuine dispute of material fact regarding an

essential element of their claim of intentional infliction of emotional distress against these

Defendants. Therefore, the Court finds that the EMS Defendants are entitled to summary

judgment on Plaintiffs’ intentional tort claim.

                                        Conclusion

       For these reasons, the Court finds that the EMS Defendants are entitled to

summary judgment on Plaintiffs’ tort claim of intentional infliction of emotional distress,

but because no other claim is asserted by Nair and Luinahi individually on their own

behalf against the EMS Defendants, no issue is presented for decision regarding the

proper plaintiff to prosecute a wrongful death action.

       IT IS THEREFORE ORDERED that the Motion for Summary Judgment [Doc.

No. 84] of Defendants Midwest Regional Medical Center, LLC, d/b/a Midwest Regional



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Medical Center EMS, Jason Smith, and Guy Rodolph GRANTED in part and DENIED

in part, as set forth herein.

       IT IS SO ORDERED this 9th day of February, 2017.




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